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                Exhibit 5
3/5/25, 8:16 PM      Case 2:25-cv-00244-LK Exclusive:
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                                                      NIH to terminate  Filed   03/06/25
                                                                             of active            Page 2 of 9
                                                                                       research grants




 nature
    nature > news > article



    NEWS          06 March 2025



    Exclusive: NIH to terminate hundreds
    of active research grants
    Studies that touch on LGBT+ health, gender identity and DEI in the biomedical
    workforce could be terminated, according to documents obtained by Nature.


    By Max Kozlov & Smriti Mallapaty




https://www.nature.com/articles/d41586-025-00703-1                                                              1/8
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    The main historical building on the campus of the US National Institutes of Health in Bethesda,
    Maryland. Credit: Gibson Green/Alamy


    In an unprecedented move, the US National Institutes of Health (NIH) has begun mass
    terminations of research grants that fund active scientific projects because they no
    longer meet “agency priorities”.


       RELATED
                                                     NIH staff members have been instructed to identify and
                                                     potentially cancel grants for projects studying
                                                     transgender populations, gender identity, diversity, equity
                                                     and inclusion (DEI) in the scientific workforce,
                                                     environmental justice and any other research that might
                                                     be perceived to discriminate on the basis of race or
      Revealed: NIH research grants
                                                     ethnicity, according to documents and an audio recording
      still frozen despite lawsuits
      challenging Trump order                        that Nature has obtained. Grants that allot funding to
                                                     universities in China and those related to climate change
    are also under scrutiny.


    At least 16 termination letters have already been sent out, says Brittany Charlton, an
    epidemiologist at the Harvard T. H. Chan School of Public Health in Boston,
    Massachusetts, who has been tracking them. And hundreds more will be coming, say
    two NIH officials, who requested anonymity because they are not authorized to speak to
    the press.


    “It’s extremely alarming that grants that have been vetted by the scientific community
    and deemed important and impactful to understand the world are now being cancelled
    because of political ideology,” says Lisa Fazio, a cognitive psychologist at Vanderbilt
    University in Nashville, Tennessee, who studies misinformation. “For all this talk about
    free speech, this is direct censorship of scientific research.”




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    The actions come during the second month of US President Donald Trump’s presidency;
    on his first day in office, Trump issued executive orders “restoring free speech” to the
    American people and “defending women from ‘gender ideology extremism’” by banning
    federal funds that “promote or otherwise inculcate gender ideology”.


    The NIH, which is the largest public funder of biomedical research in the world, did not
    respond to Nature’s queries about the grant terminations, their legality or how many the
    agency anticipated sending out.


    Cut categories
    Although many NIH research grants run for longer, scientists generally receive their
    funding one year at a time and are required to submit a progress report to the agency
    annually. NIH staff members then review this report and can issue a continuation of
    funding.


    The agency, based in Bethesda, Maryland, has now asked its employees to review new
    and ongoing projects for any DEI activities and to place them in one of four categories:
    projects that solely support DEI-related activities (category one), projects that partially
    support these activities (category two), projects that do not support these activities but
    include some DEI-related language (category three) and projects that do not support
    any DEI activities (category four).




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    Guidance document obtained by Nature that describes the four categories all active NIH grants
    should now be grouped into.


    The NIH’s 27 institutes and centres should not issue awards for research in category one,
    according to a guidance document obtained by Nature and sent to some employees this
    week. Category-two research must be renegotiated with the lead researcher or
    institution on the grant to remove any DEI activities. If the work cannot be renegotiated,
    the institute must seek termination of the project, the document says.


    Category-three and -four research can continue unimpeded as long as any DEI language
    is stripped from the application or progress report.


    Although the guidance document focuses on DEI activities, it also includes an appendix
    with examples of other research that the NIH no longer supports. For example, projects
    funding research in China and that touch on “transgender issues” will be terminated.


https://www.nature.com/articles/d41586-025-00703-1                                                                                                                                                                                                                                 4/8
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    This guidance was drafted by the deputy director of the NIH’s Office of Extramural
    Research (OER), Liza Bundesen, and approved by acting NIH director Matthew Memoli,
    according to an e-mail that Nature has obtained. Bundesen, who took the helm of OER
    less than three weeks ago, is leaving the agency on 7 March, according to an NIH official
    who requested anonymity because they are not authorized to speak to the press.


    The guidance does not specify how to determine if a project is discriminatory, which has
    created confusion and anxiety among agency staff, another NIH official says. Many fear
    losing their jobs, so this might lead to over-interpretation of the guidance, which would
    hold back more science than “needs to be”, they say. “For example, is a grant providing
    culturally-appropriate care specifically to Hispanic and Latino populations
    ‘discrimination?’”


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    Appendices obtained by Nature describing research that NIH no longer supports.


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    Tara McKay, who studies the health of people from sexual and gender minorities
    (LGBT+) at Vanderbilt University, received an e-mail from the NIH late on 28 February. It
    said that the agency was pulling funding for her project tracking the health of more than
    1,200 LGBT+ adults in the United States.


       RELATED
                                                     McKay’s study aims to understand the sources of stress
                                                     and resilience for LGBT+ people, conduct cognitive
                                                     screening and collect blood samples to understand how
                                                     they are ageing over the span of a decade. “Longitudinal
                                                     research gets its value from time points,” she says.

      Exclusive: how NSF is scouring                 Cancelling a grant part way through means that follow-up
      research grants for violations                 data will be lost, she says, and “it devalues the earlier
      of Trump’s orders
                                                     money spent”.


    The e-mail that McKay received said that her grant did not satisfy certain criteria and
    then pointed to it including “transgender issues”, saying that such research programmes
    are “often unscientific, have little identifiable return on investment, and do nothing to
    enhance the health of many Americans”. This language repeats exactly the internal NIH
    guidance document.


    McKay says that her project does not centre on the experience of transgender people,
    but merely includes people who identify as such. “That is not a population we’re willing
    to leave behind in our work,” she adds.


    One in ten adults in the United States identify as LGBT+, and that number is twice as high
    in young people, because social acceptance has increased in that age group, Charlton
    says. “We know that our community faces a lot of discrimination, which adversely
    impacts public health,” she says. “We have to find a way to continue this work.”


    These grant terminations send a message of fear, and signal to scientists and universities
    that they shouldn’t trust that grants will be honoured, Fazio says. Animal research will

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    also not be spared: after Trump discussed research “making mice transgender” in a
    speech to the US Congress on 4 March, the Department of Government Efficiency,
    advised by billionaire entrepreneur Elon Musk, posted on the social-media platform X
    that the NIH cancelled seven grants that were developing rodent models to test
    hormone therapies.


    Fazio adds that it is ironic for an administration that is so concerned about efficiency to
    cancel these projects halfway through. “We’re losing the output of these projects that
    can help the health of Americans,” she says.


    Legal challenges ahead?
    The Trump administration’s termination of NIH grants that include specific topics is just
    its latest attempt to crack down on ‘DEI activities’.


       RELATED
                                                     On 27 January, the US Office of Management and Budget
                                                     under Trump tried to freeze all federal grants and loans,
                                                     saying that it needed to review government spending to
                                                     ensure that it aligned with executive orders issued by
                                                     Trump to end “illegal and immoral” DEI programmes. A
                                                     federal judge temporarily blocked this freeze on 29
      ‘Devastating’ cuts to NIH
                                                     January, and later excoriated the Trump administration for
      grants by Trump’s team put
      on hold by US judge                            defying his order.


    A second order issued by the same judge directed the US government to resume the
    funding of agencies, specifically mentioning the NIH by name, making the legality of the
    recent grant terminations dubious, says David Super, an administrative-law specialist at
    Georgetown University Law Center in Washington DC. “This might be research this
    administration doesn’t care about or support, but they’re going to violate the order if
    they’re terminating for reasons other than misconduct.”




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    With the NIH terminating existing grants and withholding new grants, and many grant-
    review meetings still suspended, the agency “will have great difficulty spending its
    money” by the end of the fiscal year on 30 September, Super says. That would amount to
    an illegal “impoundment” of funds appropriated by Congress, he adds.


    Are the Trump team’s actions affecting your research? Share information with Nature’s
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